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                                   Counsel for J.M. and S.M.




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   SURFHHGLQJVXQGHUTitle 20QRWDGRSWLRQSURFHHGLQJV RUFROODWHUDODWWDFNVDJDLQVW

   DGRSWLRQ RUGHUV  XQGHU Title 63.2  $OO PDWWHUV GHVFULEHG LQ  %  DUH

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Case 3:22-cv-00049-NKM-JCH Document 265-4 Filed 07/25/23 Page 5 of 6 Pageid#: 3221

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         Counsel for A.A. and F.A.
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